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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                 Southern     District of       Ohio

                  United States of America                         )
                             v.                                    )
                                                                   )        Case No.        PM
                                                                   )
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                                                                   )
                 Isabel Odir CASTELLANOS                           )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   06/06/2022                  in the county of                  Franklin            in the
     Southern          District of           Ohio             , the defendant(s) violated:
            Code Section                                                     Offense Description
21 U.S.C. §§ 846                          Conspiracy to possess with the intent to distribute 400 grams or more of fentanyl




         This criminal complaint is based on these facts:
See attached Affidavit, which is fully incorporated herein.




              Continued on the attached sheet.



                                                                                              Complainant’s
                                                                                              Comp
                                                                                                m lainant’s signature

                                                                                       DEA Special Agent Noah Bookman
                                                                                               Printed name and title

Sworn to before me and signed in my presence.


Date:       
                                                                                                 Judge’s sig
                                                                                                         signature
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City and state:       Columbus, Ohio                                         Honorable Chelsey M. Vascura, U
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                                                               Case No. ______________

                                      AFFIDAVIT
I, Noah Bookman, being duly sworn, depose and state the following:


                                   INTRODUCTION
       1.      I am a Special Agent of the Drug Enforcement Administration (DEA),
assigned to the Detroit Field Division, Columbus District Office (CDO). As such, I am
an “investigative or law enforcement officer” of the United States within the meaning of
Title 18, United States Code, Section 2510(7), that is, an officer of the United States who
is empowered by law to conduct investigations of and to make arrests for offenses
enumerated in Title 18, United States Code, Section 2516(1).


       2.      Prior to being employed by the DEA, I graduated from the Hocking
College Ohio Peace Officer Training Academy located in Nelsonville, Ohio, in June
2005. I received approximately 16 weeks of specialized police training including but not
limited to search and seizure, investigative techniques, testifying in court, evidence
collection, interview and interrogation, and controlled substance identification. I also
received an Associate’s Degree from Hocking College in Police Science. From April
2005 to January 2007, I was employed by the Hocking County Sheriff’s Office, Patrol
Bureau. From January 2007 to June 2014, I was employed by the City of Lancaster
Police Division, assigned to the Patrol Bureau. From June 2012 to September 2014, I
was assigned to the Major Crimes Unit. In September 2014, I was hired by the DEA. In
February 2015, I graduated from the DEA Academy and reported directly to the CDO.


       3.      During the course of my law enforcement career, I participated in
numerous investigations involving narcotics trafficking. I received specialized training in
narcotics trafficking and money laundering from the DEA and I have been personally
involved in investigations concerning the possession, manufacture, transportation,
distribution, and importation of controlled substances, as well as methods used to finance
drug transactions.    I have experience in debriefing defendants and interviewing
participating witnesses, cooperating individuals, and other persons who have personal


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knowledge and experience regarding the amassing, conversion, transportation,
distribution, and concealment of records and proceeds of trafficking in controlled
substances. As a special agent and a police officer, I participated in the execution of
numerous search warrants at the residences and businesses of narcotics traffickers, safe
houses, crack houses, and I participated in numerous arrests for drug-related offenses. I
have drafted numerous search warrants.            As a special agent, I participated in
investigations targeting individuals and organizations trafficking heroin, fentanyl,
cocaine, cocaine base (“crack”), marijuana, methamphetamine, and other controlled
substances, as defined in Title 21, United States Code, Section 801.


                               PURPOSE OF AFFIDAVIT

       1.      This affidavit is made in support of an application for a federal arrest
warrant and complaint against Isabel CASTELLANOS.                  My knowledge of this
investigation is based upon my own personal observations, as well as the observations
and investigations conducted by other law enforcement officers and investigators
concerning the facts and circumstances involved in the subject investigation. I have not
included in this Affidavit all the facts known to me, but only that information sufficient to
establish probable cause to believe the following;


       x    Isabel CASTELLANOS have committed a violation of Title 21, United
            States Code, Section 846, conspiracy to possess with the intent to distribute
            400 grams or more of fentanyl.


                         SUMMARY OF PROBABLE CAUSE
       1.      In May 2021, investigators, from the Drug Enforcement Administration at
the   Columbus     District   Office,   established   an   investigation   into   the   Isabel
CASTELLANOS (hereinafter, “CASTELLANOS”) drug trafficking organization
(hereinafter, “DTO”).




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         2.       Through a credible source, investigators learned CASTELLANOS would
be traveling into Columbus, Ohio from the Los Angeles, California with a large amount
of narcotics. CASTELLNAS would be transporting the narcotics in a semi-truck.


         3.       On or about June 6, 2022, an Ohio State Highway Patrol marked unit
conducted a traffic stop on a semi-truck, bearing Arizona registration of AL14077, and
the trailer, bearing California registration of 4SD3831, for a traffic infraction. The traffic
stop occurred on I-70 traveling eastbound near State Route 56. The driver of the vehicle
was identified as Isabel CASTELLANOS.


         4.       During the course of the vehicle stop, Trooper Rucker deployed his drug
detection canine on the suspect vehicle and the canine did give a positive indication to the
presence of narcotic odor coming from the vehicle.            Troopers located and seized
approximately 54,340 gross grams (54.34 kilograms) of suspected fentanyl and 4,620
gross grams (4.62 kilograms) of suspected cocaine from the sleeper area of the semi-
truck.


         5.       The Troopers advised CASTELLANOS of his Miranda rights.
CASTELLANOS understood his rights and agreed to continue with the interview.


         6.       Subsequently, investigators conducted a consent search of a stash house in
Columbus, Ohio. During the search of the residence, investigators seized approximately
290 gross grams of suspected heroin, 3,410 gross grams (3.41 kilograms) of suspected
cocaine, 3,600 gross grams (3.6 kilograms) of suspected marijuana, 8,950 gross grams
(8.95 kilograms) of suspected methamphetamine, 19,550 gross grams (19.55 kilograms)
of suspected fentanyl, a large amount of United States currency (drug proceeds), and
three firearms.


         7.       During the interview, CASTELLANOS acknowledged the transportation
of narcotics for an unknown person. CASTELLANOS took ownership of the narcotics




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seized at the residence. CASTELLANOS admitted to be working off a debt for an
unknown person.



                                     CONCLUSION
       1.      Based upon this information, your affiant believes probable cause exists
that Isabel CASTELLANOS has violated 21 U.S.C. §§ 846 conspiracy to possess with
the intent to distribute 400 grams or more of fentanyl.




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                                                 _ ________
                                                         _ __________________
                                              _______________________________
                                              Noah Bookman
                                              Special Agent
                                              Drug Enforcement Administration


Subscribed and sworn to before me
      WK day of June 2022.
this ____


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  _ ________________________
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Honorable Ch
           C helsey M. Vascura
           Chelsey
United States Magistrate Judge




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